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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                      Chapter 11
 In re:
                                                      Case No. 20-12456 (JTD)
 RTI HOLDING COMPANY, LLC, et al.,
                                                      (Joint Administration Requested)
                         Debtors.


                MOTION AND ORDER FOR ADMISSION PRO HAC VICE
       Pursuant to Rule 9010-1 and the certification below, counsel hereby moves the admission
pro hac vice of Aaron M. Gober-Sims, Esq. to represent TCW Direct Lending in the above-
captioned cases.

Dated: October 7, 2020                               ASHBY & GEDDES, P.A.

                                                     /s/ Gregory A. Taylor
                                                     Gregory A. Taylor (DE Bar No. 4008)
                                                     500 Delaware Avenue, 8th Floor
                                                     P.O. Box 1150
                                                     Wilmington, DE 19801
                                                     Tel: (302) 654-1888
                                                     Email: GTaylor@ashbygeddes.com

          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bars of the State of California and
the State of Ohio, and submit to the disciplinary jurisdiction of this Court for any alleged
misconduct which occurs in the preparation or course of this action. I also certify that I am
generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
revised August 30, 2016. I further certify that the annual fee of $25.00 has been paid to the Clerk
of Court for District Court.

                                             /s/ Aaron M. Gober-Sims
                                             Aaron M. Gober-Sims (CA Bar No. 325544)
                                             PAUL HASTINGS LLP
                                             515 South Flower Street, 25th Floor
                                             Los Angeles, CA 90071
                                             Tel: (213) 683-6130
                                             Email: aarongobersims@paulhastings.com

                           ORDER GRANTING MOTION
          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




{01614466;v1 }
